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                                 14
                                    Attorneys for Plaintiffs
                                 15 Jysan Holding, LLC; and
                                    Jusan Technologies Ltd.
                                 16

                                 17                              UNITED STATES DISTRICT COURT

                                 18
                                                                        DISTRICT OF NEVADA
                                 19

                                 20    JYSAN HOLDING, LLC, a Nevada                   Case No. 2:23-cv-00247-JAD-VCF
                                       Limited Liability Company; JUSAN
                                 21    TECHNOLOGIES LTD, an England and               STIPULATION TO EXTEND TIME
                                       Wales Limited Company;                         TO RESPOND TO MOTION TO
                                 22                                                   DISMISS OR AMEND THE
                                       Plaintiff,                                     COMPLAINT
                                 23    v.                                             (Second Request)

                                 24    REPUBLIC OF KAZAKHSTAN, a
                                       foreign sovereign state; THE AGENCY
                                 25    FOR REGULATION AND
                                       DEVELOPMENT OF THE FINANCIAL
                                 26    MARKET OF THE REPUBLIC OF
                                       KAZAKHSTAN, a Kazakhstan
                                 27

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                                       Case 2:23-cv-00247-JAD-VCF Document 27 Filed 05/02/23 Page 2 of 3




                                  1    Government agency; THE ANTI-
                                       CORRUPTION AGENCY OF THE
                                  2    REPUBLIC OF KAZAKHSTAN, a
                                       Kazakhstan Government anti-corruption
                                  3    agency; THE FINANCIAL
                                       MONITORING AGENCY OF THE
                                  4    REPUBLIC OF KAZAKHSTAN, a
                                       Kazakhstan Government agency; THE
                                  5    COMMITTEE FOR NATIONAL
                                       SECURITY OF KAZAKHSTAN, a
                                  6    Kazakhstan Government intelligence
                                       agency; MADINA ABYLKASSYMOVA,
                                  7    an individual; OLZHAS KIZATOV, an
                                       individual; ARMAN OMARBEKOV, an
                                  8    individual; and ADILBEK
                                       DZHAKSYBEKOV, an individual,
                                  9
                                       Defendants.
                                 10

                                 11        Defendants Madina Abylkassymova, Olzhas Kizatov, and Arman Omarbekov (the
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 12 “Government Official Defendants”) filed a Motion to Dismiss the Complaint on April 13, 2023
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 13 (ECF No. 23). Pursuant to the Court’s Order of April 24, 2023 (ECF No. 26), the current deadline
          702-222-2500




                                 14 for Plaintiffs Jysan Holding, LLC and Jusan Technologies Ltd (“Plaintiffs”) to respond to the

                                 15 Motion to Dismiss is May 4, 2023. Under Federal Rule of Civil Procedure 15(a)(1)(B), Plaintiffs’

                                 16 deadline to amend the complaint as a matter of course is May 4, 2023.

                                 17        Plaintiffs require additional time to respond to the Motion and consider an amendment to the

                                 18 Complaint in light of the complexity of the issues involved. Plaintiffs and the Government Official

                                 19 Defendants have conferred and reached agreement on an extension of each deadline. This is the

                                 20 second stipulation for extension of time to respond to the Motion and the first stipulation for

                                 21 extension of time to amend the Complaint under Fed. R. Civ. P. 15(a)(1)(B).

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                                  1         IT IS HEREBY STIPULATED AND AGREED that Plaintiffs’ time to respond to the

                                  2 Government Official Defendants’ Motion to Dismiss or to amend the Complaint pursuant to

                                  3 Federal Rule of Civil Procedure 15(a)(1)(B) is extended to and including June 5, 2023.

                                  4         DATED this 2nd day of May, 2023.
                                  5
                                      MCNUTT LAW FIRM, P.C.                             HOLLAND & HART LLP
                                  6

                                  7
                                    /s/ Daniel R. McNutt                                /s/ J. Stephen Peek
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                                  9 Las Vegas, NV 89135                                 Las Vegas, NV 89134

                                 10

                                 11                                              ORDER
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 12
                                                                                 IT IS SO ORDERED.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 13
          702-222-2500




                                 14
                                                                                 UNITED STATES DISTRICT JUDGE/
                                 15                                              UNITED STATES MAGISTRATE JUDGE

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                                                                                 DATED:
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                                                                                 Case No.: 2:23-cv-00247-JAD-VCF
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